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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,


                           Plaintiff,

                    v.
                                                        Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                             JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV.

                           Defendants.


        DECLARATION OF KARINA A. SMITH IN SUPPORT OF DEFENDANTS’
         OPPOSED MOTION TO EXTEND THE DEADLINE TO PRODUCE ESI
                 PURSUANT TO THE MIDP STANDING ORDER

I, Karina A. Smith, declare and state as follows:

        I am counsel for Defendants Cambium Networks, Inc. (“Cambium”) and Cambium

Networks, Ltd., Blip Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry

Moiseev (collectively the “Defendants”). I have personal knowledge of the facts set forth in this

declaration and, if called to testify as a witness, could and would testify to the following under

oath.

        1.     A true and correct copy of an email Jon V. Swenson, counsel for Defendants, sent

to counsel for Plaintiff on December 16, 2018, together with Defendants’ draft Motion to Extend

Deadline to Produce ESI which was attached thereto, is attached hereto as Exhibit 1.

        2.     A true and correct copy of an email Beth Herrington, counsel for Plaintiff, sent to

counsel for Defendants on December 17, 2018 is attached hereto as Exhibit 2.



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       3.      A true and correct copy of the transcript of the December 11, 2018 Proceedings

Before the Honorable Gary Feinerman is attached hereto as Exhibit 3.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct and that this declaration is executed the 17thth day of December 2018 in Palo Alto,

California.




                                                 Karina A. Smith




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